Case 3:22-cv-01213-TAD-KDM Document 161-2 Filed 01/05/23 Page 1 of 1 PageID #: 9099




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

      STATE OF MISSOURI ex rel. ERIC S.
      SCHMITT, Attorney General, et al.

                      Plaintiffs,

         v.                                             Case No. 3:22-cv-01213-TAD-KDM

      JOSEPH R. BIDEN, JR., in his official
      capacity as President of the United States, et
      al.,

                      Defendants.


    [PROPOSED] ORDER GRANTING PLAINTIFFS’ CONSENT MOTION FOR LEAVE
      TO FILE OVERLENGTH RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

          Before the Court is Plaintiffs’ Consent Motion for Leave to File an Overlength Response

   in Opposition to Defendants’ Motion to Dismiss, Doc. 128. Plaintiffs’ Motion is unopposed.

   Having considered the Motion, the Court hereby GRANTS Plaintiffs’ Motion.

          It is so ordered.



   Dated: ____________________                   Signed: ___________________________________
                                                        Hon. Terry A. Doughty, U.S. District Judge
